














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






PD NO. 0970-07





	RENITA BARNES, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY


		


	Per curiam.  Keasler and Hervey, JJ., dissent. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
because It does not contain a complete copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the Court
of Criminal Appeals of Texas within thirty (30) days after the date of this order.


En banc.

Delivered:   January 16, 2008

Do Not Publish.


